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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


AZURITY PHARMACEUTICALS, INC.,             )
                                           )
                     Plaintiff,            )
                                           )
v.                                         )
                                           ) C.A. No. 21-12870-MAS-DEA
                                           )
BIONPHARMA INC.,                           )
                                           )
                     Defendant             )

                  DECLARATION OF ROSHAN P. SHRESTHA, PH.D.
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       I, Roshan P. Shrestha, Ph.D., of full age, hereby declare as follows:

       1.       I am an attorney licensed to practice in Illinois and am a member of the firm Taft

Stettinius & Hollister LLP, counsel to Defendant Bionpharma Inc. In such capacity, I am fully

familiar with the facts contained herein.

       2.       Attached hereto as Exhibit A is a true and correct copy of the complaint filed in

Silvergate Pharmaceuticals, Inc. v. Bionpharma Inc., C.A. No. 18-1962, ECF No. 1 (D. Del.).

       3.       Attached hereto as Exhibit B is a true and correct copy of the complaint filed in

Silvergate Pharmaceuticals, Inc. v. Bionpharma Inc., C.A. No. 19-1067, ECF No. 1 (D. Del.).

(C.A. Nos. 18-1962 and 19-1067 collectively “First Wave Suits”).

       4.       Attached hereto as Exhibit C is a true and correct copy of U.S. Patent No.

9,669,008 B1.

       5.       Attached hereto as Exhibit D is a true and correct copy of U.S. Patent No.

9,808.442 B2.

       6.       Attached hereto as Exhibit E is a true and correct copy of U.S. Patent No.

10,039,745 B2.

       7.       Attached hereto as Exhibit F is a true and correct copy of U.S. Patent No.

10,154,987 B2.

       8.       Attached hereto as Exhibit G is a true and correct copy of SEALED Opinion by

Chief Judge Leonard P. Stark in the First Wave Suits. Silvergate Pharmaceuticals, Inc. v.

Bionpharma Inc., C.A. No. 18-1962, ECF No. 270, C.A. No. 19-1067, ECF No. 257 (D. Del.)

filed under seal.

       9.       Attached hereto as Exhibit H is a true and correct copy of Final Judgment issued

by District of Delaware in the First Wave Suits. Silvergate Pharmaceuticals, Inc. v. Bionpharma



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Inc., C.A. No. 18-1962, ECF No. 270, C.A. No. 19-1067, ECF No.257 (D. Del.).

        10.   Attached hereto as Exhibit I is a true and correct copy of the Notice of Appeal

filed by Silvergate/Azurity in the First Wave Suits.       Silvergate Pharmaceuticals, Inc. v.

Bionpharma Inc., C.A. No. 18-1962, ECF No. 271, C.A. No. 19-1067, ECF No. 258 (D. Del.).

        11.   Attached hereto as Exhibit J is a true and correct copy of the Second Amended

Complaint filed in Silvergate Pharmaceuticals, Inc. v. Bionpharma Inc., C.A. No. 20-1256, ECF

No. 49 (D. Del.). (“Second Wave Suit”).

        12.   Attached hereto as Exhibit K is a true and correct copy of U.S. Patent No.

10,772,868 B2.

        13.   Attached hereto as Exhibit L is a true and correct copy of U.S. Patent No.

10,786,482 B2.

        14.   Attached hereto as Exhibit M is a true and correct copy of U.S. Patent No.

10,918,621 B2.

        15.   Attached hereto as Exhibit N is a true and correct copy of the Motion for

Preliminary Injunction filed by Silvergate/Azurity in the First and Second Wave Suits.

Silvergate Pharmaceuticals, Inc. v. Bionpharma Inc., C.A. No. 18-1962, ECF No. 231, C.A. No.

19-1067, ECF No. 218, 20-1256, ECF No. 67 (D. Del.).

        16.   Attached hereto as Exhibit O is a true and correct copy of the Joint Stipulation of

Dismissal of the Second Wave Suit. Silvergate Pharmaceuticals, Inc. v. Bionpharma Inc., C.A.

No. 20-1256, ECF No. 106 (D. Del.) so ordered by the Court with a docket entry on May 21,

2021.

        17.   Attached hereto as Exhibit P is a true and correct copy of the Complaint filed in

Silvergate Pharm., Inc. v. Amneal Pharm. LLC, C.A. 19-678-LPS, ECF No. 1 (D. Del.).



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         18.    Attached hereto as Exhibit Q is a true and correct copy of the Complaint filed in

Azurity Pharmaceuticals, Inc. v. Annora Pharma Pvt. Ltd., 19-753-LPS, ECF No. 1 (D. Del.).

         19.    Attached hereto as Exhibit R is a true and correct copy of the Complaint filed in

Azurity Pharmaceuticals, Inc. v. Alkem Laboratories Ltd., C.A. 19-2100-LPS, ECF No. 1 (D.

Del.).

         20.    Attached hereto as Exhibit S is a true and correct copy of the Amended Complaint

filed in Silvergate Pharmaceuticals, Inc. v. Amneal Pharmaceuticals LLC, C.A. 20-1255-LPS,

ECF No. 7 (D. Del.).

         21.    Attached hereto as Exhibit T is a true and correct copy of the Complaint filed in

Azurity Pharmaceuticals, Inc. v. Annora Pharma Private Ltd., C.A. 21-196-LPS, ECF No. 1 (D.

Del.).

         22.    Attached hereto as Exhibit U is a true and correct copy of excerpts from United

States District Courts — National Judicial Caseload Profile from Table N/A—U.S. District

Courts–Combined Civil and Criminal Federal Court Management Statistics (March 31, 2021)

available at https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0331.

2021.pdf (last visited July 7, 2021).

         23.    Attached hereto as Exhibit V is a true and correct copy of the prosecution history

of the U.S. Patent Application No. 17/150,587 which issued as U.S. Patent No. 11,040,023.

         24.    Attached hereto as Exhibit W is a true and correct copy of the Orange Book entry

for Epaned® NDA No. N208686 available at https://www.accessdata.fda.gov/scripts/cder/ob/

patent_info.cfm?Product_No=001&Appl_No=208686&Appl_type=N (last visited July 12,

2021).

         I hereby declare under penalty of perjury that the foregoing is true and correct.



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Dated: July 13, 2021
                                                Roshan P. Shrestha, Ph.D.




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